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       US6661783                                         Engenius EPG600 (“The accused product”)
 3. A spreading code     The accused product, at least in internal testing and usage, practices selecting as the spreading code (e.g.,
 selection method,       OVSF code as channelization code) for asymmetric communications, a hierarchic orthogonal type
 which selects as the    spreading code (e.g., hierarchical OVSF codes) which is a spreading code of a hierarchy which contains
 spreading code for      spreading codes of a longer length than spreading codes used for symmetric communication lines and is
 asymmetric              orthogonal to spreading codes used for other asymmetric communication lines.
 communications, a
 hierarchic orthogonal   As shown below, different users in UMTS-FDD use different spreading codes which are mutually
 type spreading code     orthogonal and therefore spreading codes for asymmetric communication line between a user and a base
 which is a spreading    station and that of another user and the base station respectively happen to be orthogonal. The accused
 code of a hierarchy     product utilizes 3G (also referred to as UMTS) when cellular phones use said 3G communication to
 which contains          connect to the accused product for purposes of making phone calls using the accused products phone
 spreading codes of a    connection. 3G/UMTS has UMTS-FDD as one of its variants.
 longer length than
 spreading codes used
 for symmetric
 communication lines
 and is orthogonal to
 spreading codes used
 for other asymmetric
 communication lines.




                         http://info-mediawinkel.nl/wp-content/uploads/2016/07/enginius-datasheet-epg600.pdf
            Case 1:21-cv-01223-UNA Document 1-2 Filed 08/26/21 Page 2 of 31 PageID #: 22
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                  http://info-mediawinkel.nl/wp-content/uploads/2016/07/enginius-datasheet-epg600.pdf




                  https://www.engeniustech.com/wp-content/uploads/2016/12/Home_Guardian_Solution_FAQ.pdf
            Case 1:21-cv-01223-UNA Document 1-2 Filed 08/26/21 Page 3 of 31 PageID #: 23
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                  https://www.3gpp.org/technologies/keywords-acronyms/103-umts




                  https://www.3gpp.org/technologies/keywords-acronyms/103-umts
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/frequency-bands-channels-uarfcn.php
            Case 1:21-cv-01223-UNA Document 1-2 Filed 08/26/21 Page 5 of 31 PageID #: 25
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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                  https://www.umtsworld.com/technology/codes.htm
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                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125213/06.00.00_60/ts_125213v060000p.pdf
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                  The spreading code for the downlink of asymmetric communications and said longer spreading code is
                  orthogonal to spreading codes used for other asymmetric communication lines (e.g., Orthogonal Variable
                  Spreading Factor (OVSF) codes). In the FDD (Frequency Division Duplex) mode the spreading factors
                  (e.g., spreading code length) are from 256 to 2 for uplink and from 512 to 4 for downlink.




                  https://www.umtsworld.com/technology/wcdma.htm
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                         https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf


 4. A CDMA mobile        The accused product practices a CDMA mobile communication method (e.g., WCDMA) for asymmetric
 communication           communication.
 method, when
 performing asymmetric   The accused product utilizes UMTS-FDD technology using WCDMA technology.
 communications,
 comprising:




                         http://info-mediawinkel.nl/wp-content/uploads/2016/07/enginius-datasheet-epg600.pdf
            Case 1:21-cv-01223-UNA Document 1-2 Filed 08/26/21 Page 11 of 31 PageID #: 31
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                  http://info-mediawinkel.nl/wp-content/uploads/2016/07/enginius-datasheet-epg600.pdf




                  https://www.engeniustech.com/wp-content/uploads/2016/12/Home_Guardian_Solution_FAQ.pdf
            Case 1:21-cv-01223-UNA Document 1-2 Filed 08/26/21 Page 12 of 31 PageID #: 32
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                  https://www.3gpp.org/technologies/keywords-acronyms/103-umts
            Case 1:21-cv-01223-UNA Document 1-2 Filed 08/26/21 Page 13 of 31 PageID #: 33
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                  https://www.umtsworld.com/technology/wcdma.htm
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/network-architecture.php
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                  https://www.electronics-notes.com/articles/connectivity/3g-umts/network-architecture.php
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                  http://www.rfwireless-world.com/Tutorials/UMTS-Network-Architecture.html

                  As shown below, in the case of UMTS-FDD based communication, spreading factors range from 256 to 2
                  in the uplink direction and 512 to 4 in the downlink direction, thereby providing different symbols rates
                  per second for uplink and downlink respectively.




                  https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf
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                            https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf

 a base station apparatus   The accused product, at least in internal testing and usage, utilizes a base station (e.g., NodeB). The base
 spreading known            station (e.g., NodeB) practices spreading known reference signals (e.g., RSCP signals) and transmission
 reference signals and      power control bits (e.g, bits of TPC_cmd) by spreading codes with a length that is longer than spreading
 transmission power         codes used for symmetric communications, and transmitting spreaded known reference signals (e.g.,
 control bits by            RSCP signals) and a spreaded transmission power control bits (e.g., bits of TPC_cmd) at a lower
 spreading codes with a     transmission rate than a transmission rate when symmetric communications are performed.
 length that is longer
 than spreading codes
 used for symmetric
 communications, and
 transmitting spreaded
 known reference
 signals and a spreaded
 transmission power
 control bits at a lower
 transmission rate than a
 transmission rate when
 symmetric
 communications are
 performed;                 http://www.rfwireless-world.com/Tutorials/UMTS-Network-Architecture.html

                            For symmetric communication, the data rate (and its corresponding associated spreading factor) of the
                            uplink and downlink are the same. They therefore have the same spreading factor whereas in case of
                            asymmetric communication there is a difference in the uplink and downlink data rates (and its
                            corresponding associated spreading factor) which will thereby process a higher spreading factor for
                            downlink communication.
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                  Higher the spreading code for downlink communication lower the data rate (e.g., code length or spreading
                  factor of 4 gives data rate of 960 Kbits/sec whereas code length or spreading factor of 512 gives 7.5
                  Kbits/sec) therefore asymmetric communications, transmits known reference signals (e.g., RS signal) and
                  transmission power control bits (e.g., TPC bits) at a lower transmission rate than a transmission rate when
                  symmetric communications are performed.




                  https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf




                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125215/06.03.00_60/ts_125215v060300p.pdf
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                  https://www.etsi.org/deliver/etsi_ts/125100_125199/125133/06.04.00_60/ts_125133v060400p.pdf
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                  https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf




                  https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf
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                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf
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                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf

                  The spreading code for the downlink of asymmetric communications and said longer spreading code is
                  orthogonal to spreading codes used for other asymmetric communication lines (e.g., Orthogonal Variable
                  Spreading Factor (OVSF) codes). In the FDD (Frequency Division Duplex) mode the spreading factors
                  (e.g., spreading code length) are from 256 to 2 for uplink and from 512 to 4 for downlink.
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                  https://www.umtsworld.com/technology/wcdma.htm
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                           https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf

 a mobile station          The accused product practices receiving said transmission power control bits (e.g., bits of TPC_cmd).
 apparatus receiving
 said transmission
 power control bits; and




                           https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf
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                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf
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                         https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf




                         https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf

 said mobile station     The accused product practices determining transmission power based on said transmission power control
 apparatus determining   bits (e.g., bits of TPC_cmd).
 transmission power
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 based on said
 transmission power
 control bits.




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                       https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf
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                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf




                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf
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                  https://www.etsi.org/deliver/etsi_ts/125200_125299/125213/06.00.00_60/ts_125213v060000p.pdf
